              Case 2:19-cr-00159-RSL Document 174 Filed 01/14/22 Page 1 of 2




 1                                                             The Honorable Robert S. Lasnik
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 7                       UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
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10
          UNITED STATES OF AMERICA,                      NO. CR19-159 RSL
11
                             Plaintiff
                                                         UNITED STATES’ MOTION TO SEAL
12
                                                         EXHIBIT A TO SUPPLEMENTAL
13                                                       FILING RELATING TO
                        v.
14                                                       DEFENDANT’S MOTION TO STRIKE
          PAIGE A. THOMPSON,
15                                                       CRYPTOJACKING ALLEGATIONS
                             Defendant.                  AND TO SEVER COUNT 8
16
17                                                       NOTING DATE: January 28, 2022
18
             The United States hereby moves this Court for an Order to Seal Exhibit A to its
19
     Supplemental Filing Relating to Defendant’s Motion to Strike Cryptojacking Allegations
20
     and to Sever Count 8. This motion is made on the ground that the exhibit contains
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      UNITED STATES’ MOTION TO SEAL EXHIBIT A - 1                       UNITED STATES ATTORNEY
                                                                       700 STEWART STREET, SUITE 5220
      United States v. Thompson, CR19-159 RSL
                                                                         SEATTLE, WASHINGTON 98101
                                                                               (206) 553-7970
            Case 2:19-cr-00159-RSL Document 174 Filed 01/14/22 Page 2 of 2




 1 Protected Material as defined in the Amended Stipulated Protective Order entered on July
 2 24, 2020 (Dkt. No. 87). A copy of the exhibit has been provided to opposing counsel.
 3        DATED: January 14, 2022.
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                                                   Respectfully submitted,
 5
                                                   NICHOLAS W. BROWN
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                                                   United States Attorney
 7
                                                   s/ Andrew C. Friedman
 8
                                                   ANDREW C. FRIEDMAN
 9                                                 JESSICA M. MANCA
                                                   Assistant United States Attorneys
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     UNITED STATES’ MOTION TO SEAL EXHIBIT A - 2                    UNITED STATES ATTORNEY
                                                                   700 STEWART STREET, SUITE 5220
     United States v. Thompson, CR19-159 RSL
                                                                     SEATTLE, WASHINGTON 98101
                                                                           (206) 553-7970
